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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF WASHINGTON

8     UNITED STATES OF AMERICA,
9                                               NO. CR-07-2020-LRS-1
                       Plaintiff,
10                                              ORDER STAYING DEFENDANT’S 28
                  v.                            U.S.C.§ 2255 MOTION PENDING
11                                              APPEAL
      TRINIDAD RIVERA-CORONA,
12
                       Defendant.
13

14        On July 19, 2008, Defendant Rivera-Corona, through counsel, filed
15
     a Notice of Appeal To The Ninth Circuit Court of Appeals (Ct. Rec. 265),
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     appealing the Order and Judgment entered on July 10, 2008 (Ct. Rec. 258).
17
     On February 17, 2009, Defendant, proceeding pro se, filed a Motion Under
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     28 U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence By A Person In
19
     Federal Custody (Ct. Rec. 286).
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          IT IS HEREBY ORDERED that:
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22        1.     Defendant’s pending 28 U.S.C. §2255 Motion, Ct. Rec. 286, is

23   hereby STAYED pending completion of Defendant’s appeal at the Ninth

24   Circuit Court of Appeals.
25        2.     The District Court Executive is directed to:
26                             (a)   File this Order;

     ORDER - 1
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1                              (b)   Provide a copy to Defendant AND TO the United
                                     States Attorney, Yakima, Washington
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3         DATED this       11th       day of March, 2010.
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5
                                                      s/Lonny R. Suko
6                                               ___________________________________
                                                         LONNY R. SUKO
7                                               Chief United States District Judge
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     ORDER - 2
